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                    EXHIBIT 15
BestOffice TC-1350R 13-Gallon Touch-free Sensor Automatic Stainless-Steel Trash Can ... Page 1 of 2
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                                                                                    New 13-Gallon Touch Free Sensor Automatic Touchless Trash
                                                                                    Can Kitchen Office
                                                                                    This 13-Gallon touchless trash can is a perfect trash container.
                                                                                    Item Code: TC-1350R
                                                                                     Write a review
                                                                                         Have a question?


                                                                                    Price: USD           $112.99
                                                                                       Size Chart           Color Chart


                                                                                      Select Color                  

                                                                                                            +
                                                                                    Quantity: 1                 Units
                                                                                                            -

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  Description       Size Chart      Color Chart                                                                            You May Like

Product Description:                                                                                                                         New 8-Inch Memory
This 13-Gallon touchless trash can is a perfect trash container. With its intelligent capabilities and                                       Foam King-Size Mattress
                                                                                                                                             Wit..
sophisticated design, this garbage can makes an ideal upgrade for any kitchen decor. With the equipped
                                                                                                                                           $499.99
infrared technology, this kitchen binhelps keep cooking and dining areas clean and smelling fresh. 6"
above the infrared panel, the lid will open automatically Press the manual button OPEN on the control
panel, the lid will open all the time, press CLOSE, then it will colse.                                                                      New 8inch Queen Size
                                                                                                                                             Firm Memory Foam
Features:                                                                                                                                    Mattres..
Brand New, Fingerprint-resistant brushed stainless steel                                                                                   $399.99
13-Gallon Automatic Stainless-Steel Trash Can
On/off button and an open close button for when you want the lid to stays open and sensor off
                                                                                                                                             New 8 Inch Full size
Anti-fingerprint commercial grade stainless steel, best for kitchen, office, living room and bedroom                                         Memory Foam Mattress
Size:11.37 x 16.10 x 25.31 inch                                                                                                              Med..
Powered by 4 D size batteries (not included)                                                                                               $349.99


                                                                                                                                             New White Memory
                                                                                                                                             Foam 8 Inch Comfort
                                                                                                                                             Mattress..
                                                                                                                                           $274.99


                                                                                                                                             New Outdoor 3PC
                                                                                                                                             Rattan Patio Furniture
                                                                                                                                             Sets R..
                                                                                                                                           $372.99

   Customer Reviews
                                                                                                                                             New 4" Folding Portable
                                                                                                                                             Mattress ,Sofa Bed fo..




http://www.paylesshere.com/new-13-gallon-touch-free-sensor-automatic-touchless-trash-ca... 5/3/2018
BestOffice TC-1350R 13-Gallon Touch-free Sensor Automatic Stainless-Steel Trash Can ... Page 2 of 2
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         Average rating:     5 star                           0%        Share your thoughts with other                             $149.99
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                             2 star                           0%                                                                    Rest Adirondack Wood
                                                                                                                                    Chair..
                             1 star                           0%
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                                                                                                                                   $174.99


                                                                                                                                    New Pop-Up Canopy
                                                                                                                                    Tent With Sidewalls
                                                                                                                                    10'x20'..
                                                                                                                                   $262.99




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